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UNITED sTATEs DISTRICT CoURT FILE*:= *-`-' m n.e.
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Western Division 05 SEP * l PH 5: 1 h

UNITED STATES OF AMERICA

 

-vs- Case No. 2:05cr20056-03Ma

RONADVIOUS ADAMS

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
WEDNESDAY, SEPTEMBER 7, 2005 at 3 :00 P.M. before United States Magistrate Judge Diane
K. Vescovo in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building,
167 North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by
the United States Marshal and produced for the hearing.

Date: September 1, 2005 AOk/LW /C WM/W

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

 

lIf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(1)(2).

A hearing is required whenever the conditions set forth in l 8 U.S.C. § 3142(f] are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial oft'icer‘s own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (B.'BS) Order of Temporary Deient.ion

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Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:05-CR-20056 Was distributed by faX, mail, or direct printing on
September 15, 2005 to the parties listed.

 

 

Thomas A. Colthurst

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Honorable Samuel Mays
US DISTRICT COURT

